Case 2:10-cv-01649-SVW-JEM Document 395-1 Filed 10/31/19 Page 1 of 28 Page ID
                                 #:14119




                                                            Exhibit A
Case 2:10-cv-01649-SVW-JEM Document 395-1 Filed 10/31/19 Page 2 of 28 Page ID
                                 #:14120




                            UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA
      MARY AMADOR, et al.,                              Case No. CV 10-01649 SVW (JEMx)

                   Plaintiffs,                          [Honorable Stephen V. Wilson]

            vs.                                         SETTLEMENT AGREEMENT

      COUNTY OF LOS ANGELES, et al.,

                   Defendants.




            Plaintiffs Mary Amador, Lora Barranca, Diana Paiz, Diane Vigil, Alisa
      Battiste, Felice Cholewiak, Evangelina Madrid, Myeshia Williams, and Nancy
      Briseño (individually and on behalf of the classes previously certified in this case
      (see, Doc. No. 327) (collectively “Plaintiffs”) and Defendants County of Los
      Angeles (“the County”), the Los Angeles Sheriff’s Department, its prior Sheriff,
      Leroy Baca, and Sammy Jones, Timothy Cornell, John H. Clark, Stacey Lee,
      Dennis Burns, Gerald K. Cooper and Daniel Cruz (collectively “Defendants”), by
      and through their respective counsel, hereby submit the following Settlement
      Agreement (“Settlement Agreement”). Plaintiffs and Defendants are referred to
      collectively herein as “the Parties.”
                                                    1
                                 AMADOR CLASS ACTION SETTLEMENT AGREEMENT
Case 2:10-cv-01649-SVW-JEM Document 395-1 Filed 10/31/19 Page 3 of 28 Page ID
                                 #:14121


                                       I.     RECITALS
            Plaintiffs are former inmates at the Century Regional Detention Facility
      (“CRDF”), a jail facility operated by the Los Angeles County Sheriff’s Department
      (“LASD”), which houses female convicted inmates and pretrial detainees.
            Plaintiffs filed this action in the United States District Court for the Central
      District of California (“Court”) on behalf of themselves and a class of similarly
      situated inmates on March 5, 2010.
            Plaintiffs alleged various violations of the Federal and State Constitutions, of
      42 U.S.C. §1983, and California Civil Code §52.1 associated with the LASD’s
      strip/visual body cavity search practices at CRDF during the class period.
            The District Court, after multiple hearings and several class certification
      orders that went through a number of iterations, certified the class on November 18,
      2016. See, Doc No. 327 (Order Granting Renewed Motion For Class Certification).
      The certification was for liability only under Fed.R.Civ.P Rule (c)(4).
             On June 6, 2017, the District Court granted summary judgment on liability
      issues to the Plaintiff class on their claim for Monell liability under the Fourth
      Amendment, and dismissed claims against the individual Defendants, finding
      qualified immunity applied. . See, Doc No. 361. The District Court’s liability
      summary judgment ruling found it unnecessary to address changed conditions at
      CRDF because the searches violated the Fourth Amendment for the whole Class
      Damages Period. The changes in conditions are nonetheless factored into this
      Settlement.
            Subsequently, the Parties entered into a protracted arm’s length mediation
      process with the assistance of Retired United States District Judge George King,
      including three in-person mediation sessions with Judge King and numerous
      telephonic sessions (both the Parties separately with Judge King and among the
      Parties and Judge King).
            The Parties have reached a proposed Settlement subject to the approval of the
      Court. It is understood and agreed that this Settlement is the compromise of
                                                 2
                              AMADOR CLASS ACTION SETTLEMENT AGREEMENT
Case 2:10-cv-01649-SVW-JEM Document 395-1 Filed 10/31/19 Page 4 of 28 Page ID
                                 #:14122


      disputed claims by the Named Plaintiffs and Class Members, and that the payments
      made are not to be construed as an admission of liability by any of the Defendants.
      The Defendants deny liability, preserve all defenses they have asserted or could
      present in these proceedings or any future appeal, and intend merely to avoid the
      expense of further litigation.
              In summary, this Settlement provides for dismissal of this case with prejudice
      in exchange for a non-reversionary Class Fund of $53 Million, from which costs of
      administration, litigation costs and attorney’s fees will be paid, and the remainder
      of which would be distributed to Class Members who make viable claims subject to
      certain requirements for a minimum number of claims made (or a portion of funds
      would go to cy pres distributions as defined herein).
                                       II.    DEFINITIONS
              The listed terms used throughout this Settlement Agreement are intended to
      have the following meanings:
         1.    “Administrator” means the Class Administrator, as agreed upon (or to be
               agreed upon) by the Parties and appointed by the Court to review and
               determine the validity and amount of claims submitted by a Settlement
               Class Member (“SCM”) (as defined herein), according to the procedures set
               forth herein.
         2.    The “Bar Date” is the date by which any Class Member who wishes to
               receive payment pursuant to the Settlement Agreement and therefore is a
               Settlement Class Member (“SCM”) as defined below must file his/her Proof
               of Claim and Release Form, file objections to this Settlement Agreement, or
               request to be excluded from the class (opt-out). The Bar Date shall be
               calculated as the close of business on the 150th day after the last day of
               mailing of the Class Notice (or, for those whose initial notice is by email
               and text message, the day that they were to be sent such electronic notice in
               lieu of regular mail, as provided in Section X), which is up to occur within

                                                   3
                                AMADOR CLASS ACTION SETTLEMENT AGREEMENT
Case 2:10-cv-01649-SVW-JEM Document 395-1 Filed 10/31/19 Page 5 of 28 Page ID
                                 #:14123


              two consecutive business days from beginning to end, as is addressed in ¶
              39, i.e., the Administrator must mail all notices within a two day period).
         3.   “Class Counsel” herein refers to Barrett S. Litt and Lindsay Battles of
              KAYE, McLANE, BEDNARSKI & LITT.
         4.   “Class Counsel Attorney’s Fees” refers to the amount awarded by the Court
              as Class Counsel’s attorney’s fees in this case, to be approved by the Court
              upon motion by Class Counsel.
         5.   “Class Counsel Litigation Costs” refers to the amount of costs awarded by
              the Court upon motion by Class Counsel.
         6.   The “Class Fund” refers to the amount of $53 Million as damages
              compensation to the Class, to be paid by Defendants to the Administrator,
              and out of which the costs of Administration, Plaintiffs’ counsel
              expert/consulting, litigation and mediation fees, incentive awards and
              compensation to Class Members will be paid.
         7.   The “Class Damages Period” refers to the period between March 5, 2008
              (two years before the filing of the complaint) and January 1, 2015 (the date
              scanners or privacy partitions were available for all CRDF strip searches).
         8.   A “Class Member” means any member of the certified Damages Classes.
              Although the Court certified two damages classes, one from March 2008
              through June 30, 2011, and one from July 1, 2011 through January 1, 2015
              (because scanners were then being used for all strip searches unless the
              inmate requested a strip search in its place), for purposes of this settlement
              and because summary judgment was granted to both classes, the Damages
              Class is defined for settlement purposes as “any female inmate at CRDF
              inmate who, upon their admission or return to CRDF, were visual body
              cavity searched in groups, without individual privacy between March 5
              2008 (two years before the filing of the complaint) and January 1, 2015.”
         9.   The “Class Notice” means the notice to be sent to Class Members regarding
              this Settlement, in a form substantially similar to that attached hereto as
                                                  4
                               AMADOR CLASS ACTION SETTLEMENT AGREEMENT
Case 2:10-cv-01649-SVW-JEM Document 395-1 Filed 10/31/19 Page 6 of 28 Page ID
                                 #:14124


             Exhibit B, or as otherwise approved by the Court, and such other summary
             notice to be published in accordance with the terms of this Settlement
             Agreement.
         10. The “Class Member List” is a list of Class Members. It is based solely on
             the records of the LASD. Only persons appearing on that list qualify as
             Class Members.
         11. The “Database” is the information provided in electronic form to the
             Administrator which information has been compiled from the electronic
             records of the LASD, as filtered to identify those meeting the class
             definition by the Parties’ experts.
         12. The “Defendants” are the County of Los Angeles, the Los Angeles Sheriff’s
             Department, its prior Sheriff Leroy Baca, Sammy Jones, Timothy Cornell,
             John H. Clark, Stacey Lee, Dennis Burns, Gerald K. Cooper and Daniel
             Cruz.
         13. The “Effective Date” is the date on which the District Court issues an Order
             granting final approval of the Settlement Agreement, except that if any
             objections to the settlement were submitted to the Court, the Effective Date
             is the date of the final resolution of any appeal of the Final Approval of this
             Settlement Agreement, or if no such appeal is filed, the expiration of the
             deadline for filing a Notice of Appeal.
         14. The “Fairness Hearing” is the hearing on the fairness of this Settlement,
             which date will be set by the Court.
         15. The “Final Order of Approval and Settlement” is the Order finally
             approving the settlement, entered by the Court (which may also be referred
             to herein as “Final Order”).
         16. The “Lawsuit” refers to the action styled Amador et al. v. Baca et al., Case
             No. CV 10-01649 SVW (JEMx)..
         17. The “Motion for Attorney’s Fees and Costs” is Class Counsel's application
             for Attorneys' Fees and Costs.
                                                   5
                              AMADOR CLASS ACTION SETTLEMENT AGREEMENT
Case 2:10-cv-01649-SVW-JEM Document 395-1 Filed 10/31/19 Page 7 of 28 Page ID
                                 #:14125


         18. The “Named Plaintiffs” or “Class Representatives” refers to the plaintiffs
             named in the Fourth Amended Complaint to this suit, who are Mary
             Amador, Lora Barranca, Alisa Battiste, Nancy Briseño, Felice Cholewiak
             (Vargas), Evangelina Madrid, Diana Paiz, Diane Vigil and Myeshia
             Williams. While Lora Barranca, Diana Paiz and Diane Vigil were named
             solely as injunctive relief plaintiffs under §1983, they were damages
             plaintiffs under state law and Class Members. For purposes of this
             Settlement, no distinction is made between or among the Named Plaintiffs.
         19. “Preliminary Approval” is the Court's determination that the Settlement is
             within the range of possible approval and therefore that Class Notice should
             be sent to Class Members and a Fairness Hearing should be set by the
             Court.
         20. The “Preliminary Approval Order” is an order entered by the Court
             preliminarily approving the Settlement, after which Class Notice, the
             opportunity to object and Opt Out, and entry of a Final Order of Approval
             and Settlement would occur.
         21. An “Opt-Out” is any Class Member who files a timely request for
             exclusion, pursuant to the terms of this Settlement Agreement, to be
             excluded from the Settlement Class. (If used as a verb, it refers to the
             process of filing such exclusion.)
         22. The “Proof of Claim Form” means the Proof of Claim and Release Form
             required to be used in order to make a claim for payment under this
             Settlement. A copy of the proposed Proof of Claim Form is attached as
             Exhibit C. The pre-prepared Claim forms shall be bar coded to link with the
             Class Member’s Database information and shall contain the damages to
             which the Class Member is entitled if s/he were to receive the full damages
             provided for in this agreement.
         23. “Released Person” means the Defendants and their affiliates, subsidiaries,
             predecessors, successors, and/or assigns, together with all past, present and
                                                  6
                              AMADOR CLASS ACTION SETTLEMENT AGREEMENT
Case 2:10-cv-01649-SVW-JEM Document 395-1 Filed 10/31/19 Page 8 of 28 Page ID
                                 #:14126


             future officials, employees, representatives, attorneys, outside counsel,
             and/or agents of Los Angeles County. “Released Person” also includes any
             and all insurance carriers, and/or their representatives and attorneys, for the
             Released Persons.
         24. “Remainder” refers to the amount in the Class Fund after payment of Class
             Counsel’s Attorney Fees, Class Counsel’s Litigation Costs, and mediation
             costs. The “Minimum Remainder” is a figure used for purposes of
             determining whether cy pres payments are made and is based on the
             estimate of the maximum fees to be sought (1/3 of the $53 Million Fund),
             and estimated litigation and class administration costs ($1.5 Million),; thus
             the Minimum Remainder is estimated to amount to $33,883,000, which the
             Parties agree to round up to $34,000,000.
         25. The “Settlement” refers to this agreement.
         26. A “Settlement Class Member” (“SCM”) means any Class Member as
             defined above (whether or not she files a Timely Claim form), including
             representatives, successors and assigns, who does not file a valid and timely
             Request for Exclusion as provided for in this Settlement Agreement.
         27. The “Settlement Fund” is the fund established by the Administrator with
             funds transferred from Defendants from which the damages to the Class
             Representatives and Class Members will be paid. The Defendants will pay
             all moneys they are obligated to pay under the Preliminary Approval Order,
             and the settlement approved by the Court, if any, into the Settlement Fund.
         28. “Strip Search” means a search conducted by LASD personnel on a Class
             Member (as defined above) in which the person was required to remove her
             clothing, including underwear, in the presence of a corrections officer
             and/or expose her breasts, genitals or body cavities for a visual inspection.
             All persons appearing on the Class Member List were subjected to a strip
             search as defined herein.

                                                 7
                              AMADOR CLASS ACTION SETTLEMENT AGREEMENT
Case 2:10-cv-01649-SVW-JEM Document 395-1 Filed 10/31/19 Page 9 of 28 Page ID
                                 #:14127


         29. A “Timely Claim” is one filed a) within the 150-day window provided by
              the notice to be sent to the class, and b) to the extent the Court approves,
              late claims (i.e., claims filed after the Class Notice period) that are filed
              prior to the Final Approval Hearing.
                             III.   DISCLAIMER OF LIABILITY
            1.     The Parties acknowledge and agree that all undertakings and
      agreements contained in this Settlement Agreement have been agreed to solely for
      the purpose of finally compromising all questions, disputes and issues between
      them relating to the litigation. This Settlement Agreement and any proceedings
      taken pursuant hereto shall not in any event be construed as, interpreted as, or
      deemed to be evidence of an admission or concession by either party for any
      purpose, or deemed to constitute a waiver of any legal position or any defenses or
      other rights which the Parties might otherwise assert in any context. Neither this
      Settlement Agreement nor any provision contained therein, nor any documents
      related hereto, nor any negotiations, statements or testimony taken in connection
      herewith may be offered or received as evidence, or used for any other purpose, or
      in any suit, action or legal proceeding which either of them have or in the future
      may have with any other person, as an admission or concession of liability or
      wrongdoing on the part of either party, except in connection with any action or
      legal proceeding to enforce this Settlement Agreement. The Parties have reached
      this Settlement through arms-length negotiations and to avoid the costs and delays
      of further disputes, litigation and negotiations among them and after extensive
      negotiations with an independent mediator, subject to approval by the Court. This
      Settlement Agreement has been entered into without any concession of liability or
      non-liability whatsoever and has no precedential or evidentiary value whatsoever.
      IV.    FINANCIAL TERMS OF SETTLEMENT AGREEMENT AND CLASS
                     DAMAGES ALLOCATION FORMULA
            2.     The Class Fund is the amount of $53,000,000. The class administration
      costs shall be paid out of that fund, as will any incentive awards to the Class
                                                  8
                               AMADOR CLASS ACTION SETTLEMENT AGREEMENT
Case 2:10-cv-01649-SVW-JEM Document 395-1 Filed 10/31/19 Page 10 of 28 Page ID
                                 #:14128


      Representatives as approved by the Court. (Class Counsel’s Litigation Costs will be
      addressed in Class Counsel’s Motion for Attorney’s Fees and Costs.) The
      Remainder of the Class Fund shall be distributed to the Class Members (including
      Named Plaintiffs/Class Representatives) under the formula terms provided in this
      Agreement.
            3.      Subject to approval of the Court at the hearing regarding the Final
      Order of Approval and Settlement, the following incentive awards shall be paid to
      the Named Plaintiffs (in addition to the share of the Class Fund to which they are
      entitled as Class Members). Class Counsel represent that they have no prior
      agreement with any Named Plaintiff to seek such awards, nor do they have any
      commitment to propose them. They are proposed at the initiative of Class Counsel
      and are intended to reflect Named Plaintiffs’ commitment to, and active assistance
      in advancing, this Lawsuit since it was filed in 2010:
      NAME                                                   INCENTIVE AWARD
      Mary Amador                                            $10,000
      Lora Barranca                                          $10,000
      Alisa Battiste                                         $10,000
      Nancy Briseño                                          $10,000
      Felice (Cholewiak) Vargas                              $10,000
      Evangelina Madrid                                      $10,000
      Diana Paiz                                             $10,000
      Diane Vigil                                            $10,000
      Myeshia Williams                                       $10,000
                           TOTAL                             $90,000
            4.      It is not currently possible to determine the amount of the Remainder
      before the hearing regarding the Final Order of Approval and Settlement, where the
      final amount of Class Counsel’s Attorney’s Fees and Costs awards, and class
      administration costs will be determined.
            5.      The formula for distribution of the Remainder has been developed by
      Class Counsel and, if approved by the Court, will be summarized in the Class
                                                  9
                               AMADOR CLASS ACTION SETTLEMENT AGREEMENT
Case 2:10-cv-01649-SVW-JEM Document 395-1 Filed 10/31/19 Page 11 of 28 Page ID
                                 #:14129


      Notice to be sent to Class Members. The formula is designed to account for the fact
      that the alleged severity of challenged conditions varied depending on the time
      period the Strip Search occurred (with the most intrusive conditions before July
      2011 and least intrusive conditions after February 2014 when the bus bay became
      enclosed and had heating), the number of Strip Searches an inmate experienced and
      the weather conditions when the Strip Search occurred.
             6.     To briefly summarize, Class Counsel’s assessment of these variations
      in conditions, which are factored into the class damages allocation formula, are as
      follows:
           TIME PERIOD                                     CONDITIONS

      2/26/2014 – 1/31/2015               Conditions:

      (Core Conditions                     (1) female inmates required to participate in
      Applicable to All Class                 group Strip Searches in which the labia lift
      Members Regardless of                   procedure was used;
      Time Period)                        (2) female inmates required to publicly identify if
                                              they were menstruating, remove feminine
                                              hygiene products in view of other inmates;
                                              and
                                          (3) female inmates required to expose their naked
                                              body – including bare pubic region and bare
                                              breasts – in the presence of a group.
                                           (4) inmates searched in groups of 24 inmates (or
                                              more, see below).

      4/1/2013 – 2/25/2014            Conditions:

                                         • All above conditions
                                      plus
                                         • Group Strip Searches occurred in a converted
                                           bus garage with a chain link fence roof with a
                                           tarp on it and no heaters.
      7/1/2011 – 3/30/20131           Conditions:

      1
       This subclass was because LASD reduced its class sizes to a maximum of 25 and installed tables
      on which clothes could be placed in April 2013.
                                                    10
                                 AMADOR CLASS ACTION SETTLEMENT AGREEMENT
Case 2:10-cv-01649-SVW-JEM Document 395-1 Filed 10/31/19 Page 12 of 28 Page ID
                                 #:14130


           TIME PERIOD                                  CONDITIONS

                                      • All above conditions
                                   plus
                                      • Inmates searched in groups larger than 24
                                        inmates
                                      • Inmates required to put clothing directly on
                                        the ground.
      3/5/2008 – 6/30/2011         Conditions:

                                      • All above conditions
                                   plus
                                      • Deputies simultaneously searched both lines
                                        of female inmates so that inmates were
                                        directly viewing each other during the Strip
                                        Search.


            7.     Based on the above considerations, Class Counsel have devised a
      distribution model in which Class Members are compensated based on the number
      of Strip Searches they endured, with searches weighted based on the time period in
      which they occurred (which, in turn, corresponds to the severity of conditions).
      Each Strip Search is assigned a point-value which will translate to a per-diem dollar
      value at the time of distribution. Class Members receive the designated number of
      points based on the number of Strip Searches in each category.
            8.     The chart below shows the categories, conditions associated with each
      category, and points assigned to each category.
            Time Period                         Points Per Strip Search
            3/8/2008 – 6/30/2011                100
            7/1/2011 – 3/31/2013                90

            4/1/2013 – 2/25/2014                80

            2/26/2014 – 1/31/2015               70

            9.     The distribution model also provides an additional 10-points for any

                                                11
                              AMADOR CLASS ACTION SETTLEMENT AGREEMENT
Case 2:10-cv-01649-SVW-JEM Document 395-1 Filed 10/31/19 Page 13 of 28 Page ID
                                 #:14131


      Strip Search conducted at a temperature of 70 degrees or less.
            10.    The per-search points are assigned to each Class Member, up to their
      50th search. The “50-search cap” applies to less than .04% of the Class. This cap is
      to ensure that outliers who have outsized claims do not distort the meaningfulness
      of the recovery to the remaining Class Members. (Such outliers would be entitled to
      opt out and pursue their own claims if they so choose.)
            11.    That Class Member’s point total is the sum of all their assigned points.
      The final distribution will be based on the total points for each Class Member who
      filed claims, divided by individual points assigned to each claiming Class Member.
      (If, for example, there is a total of 1,000,000 points for the aggregated Timely
      Claims, and Class Member “X” had a total of 200 points, Class Member “X” would
      receive .02% (or .0002) of the Remainder; if the Remainder is the Minimum
      Remainder of $31 Million, that Class Members would receive $6,200). These
      figures are purely hypothetical and should not be considered as reflective of any
      likely award. Because it is anticipated that not all Class Members will make Timely
      Claims, and this is a non-reversionary fund (except as provided in Section VI,
      below, for cy pres payments in the event of a low claim rate, which the Parties do
      not anticipate), a claiming Class Member’s share of the Remainder will be
      determined based on that Class Member’s share of the total points for Class
      Members who made Timely Claims.
            12.    No Class Member who filed a Timely Claim will receive less than
      $200 (the minimum will be at least $200 but may be adjusted upwards) subject to
      the limit of the Class Funds available in the Remainder. The minimum provision is
      designed to ensure that all Class Members who submit Timely Claims receive some
      recovery.
            13.    None of the Class Fund shall revert to the County. Accordingly, as
      explained above, the money per Class Member making a Timely Claim will
      increase proportionately to the extent that fewer Class Members make a claim.
            14.    Class Counsel intend to submit a separate Motion for Attorney’s Fees
                                                12
                              AMADOR CLASS ACTION SETTLEMENT AGREEMENT
Case 2:10-cv-01649-SVW-JEM Document 395-1 Filed 10/31/19 Page 14 of 28 Page ID
                                 #:14132


      and Costs to be heard at the hearing regarding a Final Order of Approval and
      Settlement, to be analyzed under the standards for an award of fees and costs to a
      prevailing plaintiff under the percentage of the fund doctrine. While the motion will
      seek a percentage of the Class Fund as a fee award, subsumed within that request
      will be any statutory attorney’s fee to which Class Counsel would be entitled under
      42 U.S.C. § 1988 or Cal. Civil Code § 52.1(h). The Class Notice will advise Class
      Members of Motion for Attorney’s Fees and Costs and their right to object to it.
            15.    The LASD represents that to the best of its knowledge, it has provided
      all the electronic data in its possession, which it is legally authorized to produce,
      regarding Class Members necessary to both identify and contact Class Members.
      The LASD shall provide to the Administrator, to the extent that such information
      has not already been provided, any such additional information in its possession
      which it is legally authorized to produce. Such information shall include date of
      birth, social security number (SSN), driver’s license/state ID number, and most
      recent contact information (address, phone and any other available contact
      information). In addition, LASD shall provide to the Administrator and Class
      Counsel the data from the Automated Justice Information System (“AJIS”)
      Released-to-Agency field indicating whether a Class Member was released to the
      custody of another law enforcement agency. This information may only be used to
      reach out to Class Members to ensure they receive the Class Notice and are aware
      of how to file a claim pursuant to this Agreement. LASD will make a written
      request to the California Department of Corrections and Rehabilitation (“CDCR”),
      which request will include a list of Class Members who were transferred to CDCR
      from LASD custody, and request that CDCR: (1) advise the Administrator of
      where and how the Class Notice to those Class Members still in CDCR physical
      custody should be sent; and (2) provide the Administrator with the most recent
      contact information in CDCR’s records (including records in the Division of Adult
      Parole Operations, where applicable) for each Class Members who is no longer in
      CDCR physical custody. When making the foregoing request to CDCR, LASD will
                                                 13
                               AMADOR CLASS ACTION SETTLEMENT AGREEMENT
Case 2:10-cv-01649-SVW-JEM Document 395-1 Filed 10/31/19 Page 15 of 28 Page ID
                                 #:14133


      provide to CDCR any individualized identifying information in its possession that it
      is legally authorized to include that could assist CDCR in identifying Class
      Members.
            If CDCR provides a response, LASD will then advise Class Counsel of
      CDCR’s response, and if CDCR either fails to respond or refuses to provide
      assistance, Class Counsel may seek Court assistance in securing the cooperation of
      CDCR to effectuate service of the Class Notice and to obtain the most up to date
      contact information for Class Members. Neither the County nor the LASD will
      have any further obligation with respect to efforts to obtain contact information for
      Class Members from CDCR beyond the efforts described above, except that it will
      engage in any reasonable follow-up requested by CDCR. LASD will likewise have
      no further obligation to assist with securing cooperation regarding the provision of
      Class Notice to Class Members still in CDCR custody.
            Nothing in this agreement precludes Plaintiffs from seeking a court order
      authorizing the LASD to provide CII and FBI numbers directly to CDCR as part of
      efforts to identify Class Members and provide Class Notice to individuals who were
      previously transferred to CDCR. Should Plaintiffs file such a motion, they will
      serve the Attorney General of the State of California and the Federal Bureau of
      Investigation with the motion in order to provide each with the opportunity to be
      heard. Plaintiffs will not seek access to such records for themselves or for the
      Administrator.
                  V.   RELEASES AND OTHER SETTLEMENT TERMS
            16.    The Parties enter into this Agreement solely for the purposes of this
      Settlement and implementation of the Settlement. If the Settlement fails to be
      approved or otherwise fails consummation, then this Settlement Agreement is
      hereby withdrawn.
            17.    An SCM who complies with the requirements set forth in this
      Settlement Agreement and files a Timely Claim form will be paid specified sums
      determined by the distribution process set forth above, which payment shall be in
                                                 14
                               AMADOR CLASS ACTION SETTLEMENT AGREEMENT
Case 2:10-cv-01649-SVW-JEM Document 395-1 Filed 10/31/19 Page 16 of 28 Page ID
                                 #:14134


      full satisfaction of all claims of that SCM.
            18.    The Settlement Agreement, as of the Effective Date, resolves in full all
      claims against the Released Persons by all of the SCMs, including the Named
      Plaintiffs, involving violations of law or constitutional rights, including, without
      limitation, their equal protection rights under federal and California law, their rights
      under 42 U.S.C. § 1983 and California Civil Code § 52.1, any other rights under
      any other federal, state or local law, regulation, duty, or obligation, or any other
      legal theory, action or cause of action, which arise from the class-wide factual
      allegations alleged in the Fourth Amended Complaint, which is the operative
      pleading in this matter ( “Covered Claims”).
            19.    When the Settlement Agreement is final, as of the Effective Date, all
      SCMs, including the Named Plaintiffs, waive all rights to any and all claims
      relating to damages or reimbursement of any kind for the Covered Claims. This
      waiver and release shall include a full release and waiver of unknown rights
      regarding the Covered Claims that may exist as of the Effective Date.
            20.    As of the Effective Date, the SCMs, including the Named Plaintiffs,
      hereby waive any and all rights to pursue, initiate, prosecute, or commence any
      action or proceeding before any court, administrative agency or other tribunal, or to
      file any complaint regarding acts or omissions by the Released Persons with respect
      to the Covered Claims during the class period; and further, as it relates to this
      waiver or Release, expressly waive the provisions of California Civil Code § 1542,
      which provides that “a general release does not extend to claims which the creditor
      does not know or suspect to exist in his or her favor at the time of executing the
      release, which if known by him or her must have materially affected his or her
      settlement with the debtor.”
            21.    This Settlement Agreement, together with its exhibits, contains all the
      terms and conditions agreed upon by the Parties regarding the subject matter of the
      instant proceeding, and no oral agreement entered into at any time nor any written
      agreement entered into prior to the execution of this Settlement Agreement shall be
                                                 15
                               AMADOR CLASS ACTION SETTLEMENT AGREEMENT
Case 2:10-cv-01649-SVW-JEM Document 395-1 Filed 10/31/19 Page 17 of 28 Page ID
                                 #:14135


      deemed to exist, or to bind the Parties, or to vary the terms and conditions
      contained herein, except as expressly provided herein.
               22.      Each SCM shall be deemed to have submitted to the jurisdiction of the
      Court.
               23.      This Settlement Agreement is subject to and conditioned on entry by
      the Court of a Final Order of Approval and Settlement and the issuance of the final
      order of dismissal by the Court, providing the specified relief as set forth below,
      which relief shall be pursuant to the terms and conditions of this Settlement
      Agreement and the Parties’ performance of their continuing rights and obligations
      hereunder. The Final Order of Approval and Settlement shall be deemed final on
      the Effective Date. Such Final Order of Approval and Settlement shall:
               a. Dismiss with prejudice all claims in the action as to the Released Persons
                     including all claims for monetary damages, declaratory relief and
                     injunctive relief, each side to bear its own costs and fees except as
                     otherwise provided for in this Settlement Agreement;
               b. Order that all SCMs are enjoined from asserting against any Released
                     Person any and all claims that any SCM had, has or may have in the
                     future based on the Covered Claims;
               c. Release each Released Person from the claims that any SCM has, had or
                     may have in the future against such Released Person arising out of the
                     Covered Claims;
               d. Determine that this Settlement Agreement is entered into in good faith, is
                     reasonable, fair and adequate, and in the best interest of the Class; and
               e. Reserve the Court’s continuing and exclusive jurisdiction over the Parties
                     to this Settlement Agreement, including Defendants and SCMs, to
                     administer, supervise, construe and enforce the Settlement Agreement in
                     accordance with its terms for the mutual benefit of all Parties.
               24.      The Parties will take all necessary and appropriate steps to obtain
      preliminary and final approvals of the Settlement Agreement, and dismissal of the
                                                      16
                                    AMADOR CLASS ACTION SETTLEMENT AGREEMENT
Case 2:10-cv-01649-SVW-JEM Document 395-1 Filed 10/31/19 Page 18 of 28 Page ID
                                 #:14136


      action with prejudice, all Parties bearing their own fees and costs unless otherwise
      set forth in this Settlement Agreement. If the Court gives final approval of this
      Settlement Agreement, and if there is an appeal from such decision, the Parties will
      defend the Settlement Agreement.
      VI.   CY PRES DISTRIBUTION IN THE EVENT OF A LOW CLAIM RATE
            25.    In order to ensure that Class Members do not receive a windfall
      because there are relatively few claims filed, the Parties agree that, if the total
      claims do not amount to the Minimum Remainder based on the following formula,
      the difference between those aggregated claims and Minimum Remainder will go to
      the organizations identified in ¶ 30. The formula to determine whether such cy pres
      payments are to be made (referred to as the “Cy Pres Formula” shall be as follows:
                                      CY PRES FORMULA
                     # SEARCHES                                   AMOUNT
                     1-3                                          $5,000
                     4-6                                          $10,000
                     7-10                                         $15,000
                     11+                                          $20,000

            26.     Thus, by way of example only, if the Minimum Remainder is $31
      Million, 4000 Class Members filed claims (which the Parties agree is likely a low
      claim rate), and the average of their claims based on the Cy Pres Formula amounted
      to $9000 per claimant, the total would be $36,000,000, and no cy pres distribution
      would apply. In contrast, if 3000 people filed claims based on the same average
      $9000 per claimant and same $31 Million Minimum Remainder, then $4,000,000
      (the difference between the $31 Million Minimum Remainder and the $27,000,000
      claimed amount based on the Cy Pres Formula), would go to the Cy Pres Fund.
            27.    The foregoing formula only applies in the event that the total claims do
      not amount to the Minimum Remainder based on the Cy Pres Formula. Otherwise,
      the allocation formula set out in Section IV, above, applies.
            28.      The Cy Pres funds will not be returned to the County’s general fund
                                                 17
                               AMADOR CLASS ACTION SETTLEMENT AGREEMENT
Case 2:10-cv-01649-SVW-JEM Document 395-1 Filed 10/31/19 Page 19 of 28 Page ID
                                 #:14137


      but will instead be provided to non-profit organizations or programs which provide
      gender-responsive services to female inmates in LASD custody. At the time that it
      is determined that any Cy Pres funds are to be distributed, counsel for the Parties in
      this case and the LA County Board of Supervisors will work in good faith to
      identify the organizations or programs to receive those funds. If they cannot agree,
      the Parties will separately brief the Court, and the Court will determine the
      organizations and/or programs to which the Cy Pres funds will be paid.
                      VII. RESOLUTION AND PAYMENT OF CLAIMS
               29.   Defendants agree to the division of funds between Incentive Awards
      and the Remainder as proposed by Class Counsel subject to the approval of the
      Court.
                                 VIII. CLASS COUNSEL FEES
               30.   Class Counsel will file a Motion for Attorney’s Fees and Costs on a
      percentage of the fund basis, and the payment of said fees and costs is subject to
      Court approval. Class Counsel will not seek more than 1/3 of the $53 Million Class
      Fund as the amount of attorney’s fees requested; Class Counsel may seek less but
      may not seek more. (This 1/3 cap is separate from Class Counsel’s costs, i.e., Class
      Counsel may request up to 1/3 of the Class Fund plus costs.)
                                IX.    CLASS ADMINISTRATOR
               31.   Counsel for the Parties will jointly agree on the selection of the Class
      Administrator and, if they cannot so agree, will submit their suggestions to the
      Court and the Court will determine the Administrator. The Parties understand the
      importance of a rapid process for choosing the Class Administrator and are
      committed to reaching a joint selection as soon as practicable.
               32.   The Administrator shall be responsible for taking any steps deemed
      appropriate and necessary by Class Counsel to notify the Class Members of their
      rights to file claims, and to assist them in doing so. Class Notice shall be issued
      electronically by email and text message (for all Class Members whose email
      addresses and mobile phone numbers can be and have been obtained) by the date
                                                  18
                                AMADOR CLASS ACTION SETTLEMENT AGREEMENT
Case 2:10-cv-01649-SVW-JEM Document 395-1 Filed 10/31/19 Page 20 of 28 Page ID
                                 #:14138


      set in the Preliminary Approval Order for the initial mailing of Class Notice. On
      that same date, Class Notice shall be provided by regular mail for all Class
      Members for whom an email address and mobile phone number have not been
      obtained, for all incarcerated Class Members.
            33.    For those Class Members whose initial Class Notice was sent by the
      combination of email and text message who have not responded by filing either a
      claim or an Opt Out within 30 days, they will be sent by regular mail the Class
      Notice previously provided to the other Class Members whose Class Notice was
      sent by regular mail, along with a statement that they were sent by email and text
      message a Class Notice as well, and this is being sent to ensure that they have seen
      the Class Notice. (See, ¶ 40 for elaboration.)
            34.    The Administrator’s duty shall include the use of normal and
      customary means to search for a Class Member’s email addresses, mobile phone
      numbers and last known mailing addresses, including the use of a postal database
      and other specialized databases, when mail is returned. As indicated above, the
      Administrator shall initially send electronic copies of the Class Notice to any
      inmates for whom email addresses and mobile telephone numbers are ascertainable
      and at the same time send a hardcopy version and claim form to any Class Member
      whose email and mobile phone numbers are not ascertainable, as well as any Class
      Members who are currently incarcerated in California State prisons. (The
      Administrator is responsible for making reasonable efforts to determine Class
      Members who are now incarcerated in California state prisons). The Administrator
      will also propose economically viable and likely productive forms of notice through
      the use of social media and online advertising.
            35.    Beginning when it is first retained after the Court approves its
      appointment, the Administrator will begin to obtain as many Class Member email
      addresses and mobile phone numbers as reasonably possible. Before the filing of
      the Motion for Preliminary Approval, the Administrator will advise the Parties and
      the Court of when the Administrator believes it can reasonably obtain available
                                                 19
                               AMADOR CLASS ACTION SETTLEMENT AGREEMENT
Case 2:10-cv-01649-SVW-JEM Document 395-1 Filed 10/31/19 Page 21 of 28 Page ID
                                 #:14139


      Class Member email addresses, phone numbers and mailing addresses, and the date
      for mailing the Class Notice shall be set with that time in mind.
            36.    Notice shall proceed as follows:
                      1) Initial Class Notice shall commence with email and text notices
                        for all Class Members whose email addresses and/or mobile
                        phone numbers are ascertainable (assuming both are
                        ascertainable, Class Members will receive two forms of
                        electronic notice; if either the email address or mobile phone
                        number cannot be obtained, the notice will be sent via the
                        available means).
                      2) On the same day, notice by regular mail shall be sent to all Class
                        Members for whom either an email address or mobile phone
                        number or both could not be ascertained. This means that all
                        Class Members will receive the Class Notice by either (1) email
                        and text; or (2) regular mail plus either email or text (assuming
                        one of the two is available); or (3) regular mail only (for those
                        whose email and mobile phone numbers cannot be located).
                      3) Thirty days after the initial issuance of Class Notice, the
                        Administrator will send notice by regular mail to all Class
                        Members who were initially notified only by electronic means
                        only (those who received notice by email and text) and who have
                        not yet submitted claim forms along with the explanation that
                        they were sent such electronic notice but this notice is being sent
                        as well because they did not file a claim or exclude themselves
                        from the settlement.
                      4) Throughout the notice period, the Administrator shall continue
                        to send email and text notice if and when it learns additional
                        email addresses/phone numbers for Class Members.
                      5) Where Class Notice is sent by email or text, the Class
                                                20
                              AMADOR CLASS ACTION SETTLEMENT AGREEMENT
Case 2:10-cv-01649-SVW-JEM Document 395-1 Filed 10/31/19 Page 22 of 28 Page ID
                                 #:14140


                         Administrator will periodically remind Class Members through
                         email/text blasts to file claims. (If possible, procedures shall be
                         implemented to remove Class Members from email/text blasts
                         who have submitted claims).
            37.    The Administrator shall complete the initial Class Notice within two
      consecutive business days. The second day of such mailing is the first day of the
      period for calculating the “Bar Date” (defined previously). That mailing shall occur
      as soon as practicable after the settlement has been Preliminarily Approved and no
      later than the date set by the Court.
            38.    The Class Notice shall describe the particulars of the case, provide the
      class definition, provide information for claimants to contact the Administrator for
      a claim form, notify Class Members of establishment of a case website, and contain
      other usual and customary information. The proposed Class Notice is attached to
      this Settlement Agreement as Exhibit B.
            39.    The Administrator will include in its bid a line item for the cost of
      obtaining from CDCR the identities of Class Members in CDCR custody to whom
      Class Notice should be sent at their CDCR housing location.
            40.    The Parties discussed and presently do not intend to publish Class
      Notice in local newspapers because experience has shown that such notice is of
      little value in notifying Class Members. Instead, mail, email and text notice will be
      supplemented through summary publication in Prison Legal News (a publication
      widely distributed to inmates throughout the country); and through selective social
      media/online outreach directly targeting Class Members’ Facebook and/or
      Instagram accounts.
            41.    If specifically requested by Plaintiffs’ counsel, the Defendants will
      seek to obtain the cooperation of CDCR (subject to the limitations set forth in
      Paragraph 15), and the Los Angeles County Probation Department to assist in
      locating Class Members, including, where Defendants believe legally permissible,
      providing more recent contact information for Class Members. The LASD will
                                                 21
                               AMADOR CLASS ACTION SETTLEMENT AGREEMENT
Case 2:10-cv-01649-SVW-JEM Document 395-1 Filed 10/31/19 Page 23 of 28 Page ID
                                 #:14141


      advise on its website of the existence of this Settlement and place a link on the
      website to connect viewers to the Administrator’s website. The LASD will also
      post physical copies of the Class Notice (Exhibit “B”) in CRDF Reception and Day
      Rooms.
             42.   The request for bid to potential Administrators included requests for
      all such potential activities as well as suggestions for other ways of reaching
      potential Class Members. That request for bid also requested economically viable
      proposals for means by which Class Members can receive payment through
      electronic means rather than by check. There will also be requests to nonprofits that
      address criminal justice reform, reentry or programs for former inmates to provide
      notice on their websites and to their mailing lists.
        X.     CLASS ADMINISTRATION FOR PROOF OF CLAIM FORMS AND
                             PAYMENT SCHEDULE
             43.   The Administrator shall be responsible for providing and receiving
      Proof of Claim Forms in paper and electronic format. The Administrator shall
      determine Class Membership and the amount of monies due each timely claiming
      Class Member based on the formula contained in Section IV.
             44.   A Proof of Claim Form shall be deemed timely submitted under
      subsection (a) of Definition # 29 (Timely Claim) when received by the
      Administrator, or postmarked, on or before the Bar Date. Facsimile or electronic
      mail filings are acceptable and timely so long as they clearly indicate the case on
      which the claim is filed and are received on or before the Bar Date.
             45.   If a Class Member submits a Claim Form that is deficient in some
      respect, the Administrator shall provide written notice by First Class Mail and a 30-
      day time limit to provide a proper Claim Form, which notice shall inform the Class
      Member of what she must do in order to submit a proper claim. Failure to cure the
      deficiency within the 30-day time limit will bar any further rights for consideration
      of eligibility to make a valid claim. So long as the original claim is received on or
      before the Bar Date, it shall be considered timely under sub-section (a) of
                                                 22
                               AMADOR CLASS ACTION SETTLEMENT AGREEMENT
Case 2:10-cv-01649-SVW-JEM Document 395-1 Filed 10/31/19 Page 24 of 28 Page ID
                                 #:14142


      Definition # 30 (Timely Claim) if any deficiency is cured within 30 days of the
      mailing of a notice of deficiency.
            46.    Claim Forms received after the Bar Date shall be rejected. The
      Administrator will notify claimants of the rejection of untimely Claims.
            47.    The $53 Million payment shall be made in three equal installments, the
      first of which shall be made 30 days after the Effective Date, the second of which
      shall be made twelve months after the first payment, and the third of which shall be
      made twelve months after the second payment.
            48.    The costs of Class Administration through the Final Order of Approval
      and Settlement and the first round of distribution of checks will be taken from the
      first payment.
            49.    For each payment, 1/3 of the total Attorney’s Fees and Costs awarded
      by the Court to Class Counsel shall be paid into the KMBL Client Trust Account
      and the remaining funds shall be paid to the Class Administrator for distribution
      under the terms of this Agreement.
            50.    The Class Administrator shall take its accrued and reasonably
      projected costs of administration for that round from the second and third round of
      payments.
            51.    In addition to the first round of payment to qualifying Class Members,
      the Administrator will advise them of the estimated time of payments to be made in
      the second and third rounds and advise Class Members to keep them apprised of
      any address changes.
            52.    The Administrator shall make the first round of payments to SCMs
      who have filed Timely Claims as ultimately determined by the Court in accordance
      with this Settlement Agreement within a reasonable time not to exceed 90 days
      after the Effective Date.
            53.    If a check to an SCM is not cashed within three months of its mailing,
      the Administrator shall hold the funds for nine additional months, during which
      time it shall make reasonable efforts to contact the person to whom the uncashed
                                                    23
                                  AMADOR CLASS ACTION SETTLEMENT AGREEMENT
Case 2:10-cv-01649-SVW-JEM Document 395-1 Filed 10/31/19 Page 25 of 28 Page ID
                                 #:14143


      check was written to make arrangements for its cashing or reissuance. The
      Administrator shall not make any payment to any SCM until all claims have been
      submitted to the Administrator pursuant to the terms of this Settlement Agreement.
            54.    Any SCM funds not cashed within one year of a check’s initial mailing
      shall be voided, and those funds (“Uncashed Funds”) shall held for the next round
      of payments. Where an SCM’s check was not cashed within that one year period,
      that SCM shall be eliminated as a qualifying Class Member, and that SCM’s past
      and future funds shall become part of the fund for future distribution to Class
      Members, and allocated to the remaining SCM’s during the next round of payments
      according to the Class Damages Allocation Formula contained in Section IV.
            55.    Uncashed funds remaining in the Class Fund one year after the third
      round of payments shall be given as a donation to the Cy Pres Fund (see ¶ 30), to
      be allocated equally among the qualifying organizations/ programs.
         XI.          EXCLUSION FROM SETTLEMENT CLASS—OPT OUTS
            56.    Any Class Member who wishes to be excluded from this Settlement
      must submit a request to be excluded from the class, a process defined herein as
      “Opt-Out.” The request for exclusion must be delivered to the Administrator, or
      postmarked, on or before the Bar Date or as the Court may otherwise direct.
            57.    Although Named Plaintiffs are entitled to Opt-Out of the Settlement,
      Plaintiffs’ counsel has conferred with each of them, and they all approve of and
      support the settlement, and have advised that they do not intend to Opt-Out.
            58.    Each Class Member who chooses to Opt-Out from or object to this
      Settlement shall be deemed to have submitted to the jurisdiction of the Court with
      respect to his/her claim.
            59.    Any Class Member who does not Opt-Out as set forth in this
      Settlement Agreement, shall be deemed conclusively to have become an SCM and
      to be bound by the Settlement Agreement and all subsequent proceedings, orders
      and judgments herein, regardless of whether s/he files a claim form.
            60.    Any Class Member who exercises an Opt-Out shall not share in any
                                                    24
                                  AMADOR CLASS ACTION SETTLEMENT AGREEMENT
Case 2:10-cv-01649-SVW-JEM Document 395-1 Filed 10/31/19 Page 26 of 28 Page ID
                                 #:14144


      monetary benefits provided by this Settlement Agreement.
            61.    The Administrator will periodically report to Defendants’ counsel and
      Class Counsel regarding all Opt-Outs received and will determine and report to
      counsel the total number of Opt-Outs no later than 10 days after the Bar Date.
            62.    If the total number of Opt-Outs exceeds 250 individuals, Defendants,
      in their sole discretion, may rescind this Settlement Agreement. In exercising this
      right of rescission, Defendants shall provide the Administrator and Class Counsel
      with written notice of rescission within 20 days after receipt of the Administrator’s
      report providing the total number of Opt-Outs. In the event Defendants exercise the
      right of rescission in accordance with this paragraph, any funds paid or deposited
      pursuant to this Settlement Agreement shall be returned to Defendants within 10
      days of the rescission, less any expenses, fees and costs incurred by the
      Administrator. Rescission shall return the Case to active litigation status.
                               XII. APPROVALS REQUIRED
            63.    The Los Angeles County Board of Supervisors has approved the terms
      of this Settlement although, after Final Approval, it will have to finally approve the
      Final Order of Approval and Settlement.
                               XIII. DISPUTE RESOLUTION
            64.    In the event of any disputes regarding implementation of the
      Settlement Agreement as set forth herein, they shall be resolved by the Court.
                                     XIV. INTEGRATION
            65.    This Settlement Agreement supersedes all prior communications
      regarding the matters contained herein between the Parties or their representatives.
      This Settlement Agreement is an integrated agreement and contains the entire
      agreement regarding the matters herein between the Parties, and no representations,
      warranties or promises have been made or relied on by any party hereto other than
      as set forth herein. This Settlement Agreement was drafted by counsel for the
      Parties hereto, and there shall be no presumption or construction against any party.

                                                 25
                               AMADOR CLASS ACTION SETTLEMENT AGREEMENT
Case 2:10-cv-01649-SVW-JEM Document 395-1 Filed 10/31/19 Page 27 of 28 Page ID
                                 #:14145


           XV. FAIRNESS HEARING AND FINAL ORDER OF APPROVAL
            66.    Before this Settlement Agreement becomes final and binding on the
      Parties, the Court shall hold a Fairness Hearing to determine whether to enter the
      Final Order of Approval and Settlement. A proposed Final Order of Approval and
      Settlement shall be submitted to the Court incorporating the terms of this
      Settlement Agreement and addressing related information such as Objections and
      Opt-Outs.
                  XVI. NO THIRD PARTY BENEFICIARIES INTENDED
            67.    This Settlement Agreement does not and is not intended to create any
      rights with respect to any third Parties, except as otherwise provided herein.
                                   XVII. COUNTERPARTS
            68.    This Settlement Agreement may be signed in counterparts.



      DATED: _________________
             October 30, 2019                      KAYE, MCLANE, BEDNARSKI &
                                                   LITT

                                                   By: _________________________
                                                               Barrett S. Litt

                                                   By: _________________________
                                                              Lindsay Battles
                                                           Attorneys for Plaintiffs

              October 30, 2019
      DATED: _________________                     GLASER WEIL

                                                   By: _________________________
                                                               Andrew Baum
                                                          Attorneys for Defendants




                                                26
                              AMADOR CLASS ACTION SETTLEMENT AGREEMENT
Case 2:10-cv-01649-SVW-JEM Document 395-1 Filed 10/31/19 Page 28 of 28 Page ID
                                 #:14146



            LIST OF EXHIBITS TO SETTLEMENT AGREEMENT


            Exhibit B        Class Notice
            Exhibit C        Proof of Claim and Release Form




                                              27
                            AMADOR CLASS ACTION SETTLEMENT AGREEMENT
